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8                              UNITED STATES DISTRICT COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

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11    AARON ALAN FALLS,                           Case No. 5:19-02311 JWH (ADS)

12                               Plaintiff,

13                        v.                      ORDER & WRIT OF HABEAS CORPUS AD
                                                  TESTIFICANDUM
14    ALYSSA VERNAL, et al.,

15                               Defendants.

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17          Plaintiff Aaron Alan Falls, CDCR #BH6927, a necessary and material witness in

18    proceedings scheduled for February 9, 2022. Plaintiff is confined in California Health

19    Care Facility, P.O. Box 213040, Stockton, CA 95213, to the custody of the Warden. To

20    secure this inmate’s attendance, it is necessary that a Writ of Habeas Corpus ad

21    Testificandum issue commanding the custodian to telephonically produce the inmate

22    before the United States Magistrate Judge Autumn D. Spaeth on February 9, 2022, at

23    10:00 a.m.

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     Case 5:19-cv-02311-JWH-ADS Document 80 Filed 01/05/22 Page 2 of 2 Page ID #:540




 1            Accordingly, IT IS ORDERED that:

 2            1.    A Writ of Habeas Corpus ad Testificandum issue, under the seal of
                    this court, commanding the Warden to produce the inmate named
 3                  above to participate in a telephonic hearing on February 9, 2022, at
                    10:00 a.m., until the completion of the hearing or as ordered by
 4                  Judge Spaeth; and

 5            2.    The custodian is ordered to notify the Court of any change in
                    custody of this inmate and is ordered to provide the new custodian
 6                  with a copy of this writ.

 7                 WRIT OF HABEAS CORPUS AD TESTIFICANDUM

8     To:     Warden, California Health Care Facility, P.O. Box 213040,
              Stockton, CA 95213
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10            WE COMMAND you to produce the inmate named above to testify before

11    Judge Spaeth by telephone at the time and place above, until the completion of the

12    hearing or as ordered by Judge Spaeth. After the conclusion of the hearing, the inmate

13    is to be returned to the above institution on the same day.

14            FURTHER, you have been ordered to notify the Court of any change in custody

15    of the detainee and have been ordered to provide the new custodian with a copy of this

16    writ.

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18    Dated: January 5, 2022

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                                               _____/s/ Autumn D. Spaeth___________
20                                             THE HONORABLE AUTUMN D. SPAETH
                                               United States Magistrate Judge
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